Division of Health Service Regulation

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NN APR T° 2010 PRINTED: 03/23/2010

FORM APPROVED

STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA
AND PLAN OF CORRECTION IDENTIFICATION NUMBER:

MHL088-020

A, BUILDING
B. WING

(X2) MULTIPLE CONSTRUCTION (x3) DATE SURVEY
COMPLETED

03/04/2010

NAME OF PROVIDER OR SUPPLIER

TRAILS CAROLINA

STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747

(x4) ID
PREFIX
TAG

SUMMARY STATEMENT OF DEFICIENCIES
(EACH DEFICIENCY MUST BE PRECEDED BY FULL
REGULATORY OR LSC IDENTIFYING INFORMATION)

ID PROVIDER'S PLAN OF CORRECTION
PREFIX (EACH CORRECTIVE ACTION SHOULD BE

TAG CROSS-REFERENCED TO THE APPROPRIATE
DEFICIENCY)

XS)
COMPLETE
DATE

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INITIAL COMMENTS

An annual and complaint survey was completed
3/4/10. The complaint was substantiated. (Intake
ID #NC00062564). Deficiencies were cited.

27G .0207 Emergency Plans and Supplies

10A NCAC 27G .0207 EMERGENCY PLANS
AND SUPPLIES

(a) A written fire plan for each facility and
area-wide disaster plan shall be developed and
shall be approved by the appropriate local
authority.

(b) The plan shall be made available to all staff
and evacuation procedures and routes shall be
posted in the facility.

(c) Fire and disaster drills in a 24-hour facility
shall be held at least quarterly and shall be
repeated for each shift. Drills shall be conducted
under conditions that simulate fire emergencies.
(d) Each facility shall have basic first aid supplies
accessible for use.

This Rule is not met as evidenced by:

Based on record review and interviews, the
facility failed to ensure fire and disaster drills were
conducted at least once per shift per quarter. The
findings are:

Review of fire drill records on 3/4/10, from July
2009 through February, 2010, revealed only two
documented fire drill during that period, at 1:20
PM on 7/16/09, and at 11:40 AM on 11/30/09,
both first shift drills. The record reveals no
documentation of fire drills for any other shifts for
the 3rd and the 4th quarters of 2009, or for any
shift for the ist quarter of 2010, and no
documentation of disaster drills during the past |

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Quarterly fire and disaster
drills will take place during
both awake and sleeping
shifts.

The Program Manager will be
responsible for facilitating all
fire and disaster drills.

The Dean of Academics will
monitor the Emergency Drill
log ona monthly basis.

Division of Health Service Regulation 7 z
LABORATORY DIRECTOR'S OR PRO Eee Corte GENTATIVE'S SIGNATURE

TITLE

Execuhw. Deredor

(x6) DATE

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STATE FORM

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 1 of 34

6899

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Division of Health Service Regulation

PRINTED: 03/23/2010
FORM APPROVED

STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA
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(X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
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A. BUILDING

B. WING

03/04/2010

NAME OF PROVIDER OR SUPPLIER

TRAILS CAROLINA

STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747

(x4) ID
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SUMMARY STATEMENT OF DEFICIENCIES
(EACH DEFICIENCY MUST BE PRECEDED BY FULL
REGULATORY OR LSC IDENTIFYING INFORMATION)

ID PROVIDER'S PLAN OF CORRECTION (x5)
PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
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DEFICIENCY)

Vv 114

V 118

Continued From page 1

year.

During interviews with the Executive Director and
the Human Resources Manager on 3/4/10, staff
acknowledged drills were not being conducted by
each shift as often as required. Staff also
acknowledged they were unaware of the
requirement for conducting disaster drills.

27G .0209 (C) Medication Requirements

10A NCAC 27G .0209 MEDICATION
REQUIREMENTS

(c) Medication administration:

(1) Prescription or non-prescription drugs shall
only be administered to a client on the written
order of a person authorized by law to prescribe
drugs.

(2) Medications shall be self-administered by
clients only when authorized in writing by the
client's physician.

(3) Medications, including injections, shall be
administered only by licensed persons, or by
unlicensed persons trained by a registered nurse,
pharmacist or other legally qualified person and
privileged to prepare and administer medications.
(4) A Medication Administration Record (MAR) of
all drugs administered to each client must be kept
current. Medications administered shall be
recorded immediately after administration. The
MAR is to include the following:

(A) client's name;

(B) name, strength, and quantity of the drug;

(C) instructions for administering the drug;

(D) date and time the drug is administered; and
(E) name or initials of person administering the
drug.

(5) Client requests for medication changes or
checks shall be recorded and kept with the MAR
file followed up by appointment or consultation

Vv 114

V 118

Division of Health Service Regulation

STATE FORM

6899 4B4311 If continuation sheet 2 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 2 of 34

PRINTED: 03/23/2010

FORM APPROVED
Division of Health Service Regulation
STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIERICLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
AND PLAN OF CORRECTION | IDENTIFICATION NUMBER: COMPLETED
A. BUILDING
B. WING
MHL088-020 03/04/2010
NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE
500 WINDING GAP ROAD
TRAILS CAROLINA LAKE TOXAWAY, NC 28747
(X4) ID SUMMARY STATEMENT OF DEFICIENCIES ID PROVIDER'S PLAN OF CORRECTION (x5)
PREFIX (EACH DEFICIENCY MUST BE PRECEDED BY FULL PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
TAG REGULATORY OR LSC IDENTIFYING INFORMATION) TAG CROSS-REFERENCED TO THE APPROPRIATE DATE
DEFICIENCY)
V 118] Continued From page 2 V 118

with a physician.

This Rule is not met as evidenced by:

Based on record review and interviews, the
facility (1) failed to ensure all medications were
only administered to a client on the written order
of a person authorized by law to prescribe drugs
for 4 of 4 client records reviewed (#1, #2, #3, #4)
(2) failed to ensure MARs were maintained
current for 2 of 4 client records reviewed (#1, #4)
The findings are:

Review of client records on 2/26/10 revealed
Client #1 was admitted to the facility on 12/30/09
with diagnoses of Asperger's Syndrome, Learning
Disorder, and Attention Defecit Hyperactivity
Disorder. The Field Medic will ensure

that a written copy of all

Review on 2/26/10 of Client #1's February 2010 prescriptions is maintained

MAR revealed he was administered the following

medications: Strattera 40 mg, 1 tab by mouth in the student file.

daily; and a Multivitamin, 1 tab by mouth daily;

Azithromycin 250 mg, 1 by mouth daily. Review Student files will be audited
further revealed no physician's orders were found on a bi-monthly basis.

for the multivitamin and Azithromycin.

Review of client records on 2/26/10 revealed
Client #2 was admitted to the facility on 12/29/09
with diagnoses of Identity Problem, Generalized
Anxiety Disorder, Depressive Disorder, and
Alcohol Abuse.

Review on 2/26/10 of Client #2's February 2010
MAR revealed he was administered the following
medications: Effexor 75 mg, 3 caps by mouth
each morning; Yaz 3-0.2 mg, 1 tab by mouth
daily, and Trazodone 80 mg, 1/2 or 1 tab by

Division of Health Service Regulation
STATE FORM 6899 4B4311 if continuation sheet 3 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 3 of 34
Division of Health Service Regulation

PRINTED: 03/23/2010
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STATEMENT OF DEFICIENCIES
AND PLAN OF CORRECTION

(1) PROVIDER/SUPPLIER/CLIA
IDENTIFICATION NUMBER:

MHL088-020

(X2) MULTIPLE CONSTRUCTION

A. BUILDING
B. WING

(X3) DATE SURVEY
COMPLETED

03/04/2010

NAME OF PROVIDER OR SUPPLIER

TRAILS CAROLINA

STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747

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PREFIX (EACH CORRECTIVE ACTION SHOULD BE
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DEFICIENCY)

(X85)
COMPLETE
DATE

V 118

Continued From page 3

mouth at bedtime. Review further revealed no
physician's orders were found for the medications
listed above.

Review of client records on 2/26/10 revealed
Client #3 was admitted to the facility on 1/23/10
with diagnoses of Parent Child relational
Problems, Sibling Relational Problems, and
Oppositional Defiant Disorder.

Review on 2/26/10 of Client #3's February 2010
MAR revealed he was administered the following
medications: Vyvanse 70 mg 1 capsule by mouth
every day; Divalproex ER 500 mg 1 tablet by
mouth every evening. Review further revealed no
physician's orders were found for the Divalproex.

Review of client records on 2/26/10 revealed
Client #4 was admitted to the facility on 9/19/09
with diagnoses of Bipolar Disorder, Disruptive
Behavior Disorder, and Intermittent Explosive
Anger Disorder. Review further revealed, Client
#4 graduated from the program on 1/13/10.

Review on 2/26/10 of Client #4’s January 2010
MAR revealed he was administered the following
medications: Multivitamin, 1 tab by mouth daily;
Lexapro 10 mg, 1 tab by mouth daily; Focalin 10
mg, 1 tab by mouth daily; and Zyprexa 5 mg, 1
tab by mouth at bedtime. Review further revealed
no physician's orders were found for the
medications listed above.

During interviews with the Field Medic on 3/1/10
and 3/4/10, she acknowledged the facility did not
routinely acquire copies of physician's orders.

2. Review of client records for Client's #1-4 on
2/26/10 revealed, all medications administered at
a specific time (i.e. in the morning) are listed in a

V 118

The Field Medic will assure
all non- prescription
medication will be
approved by a Physician.

Student files will be audited
ona bi- monthly basis.

Division of Health Service Regulation

STATE FORM

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 4 of 34

8899 4B4311

If continuation sheet 4 of 34

PRINTED: 03/23/2010

FORM APPROVED
Division of Health Service Regulation
STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
AND PLAN OF CORRECTION IDENTIFICATION NUMBER: COMPLETED
A. BUILDING
B. WING
MHL088-020 03/04/2010
NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE
500 WINDING GAP ROAD
TRAILS CAROLINA LAKE TOXAWAY, NC 28747
(x4) ID SUMMARY STATEMENT OF DEFICIENCIES ID PROVIDER'S PLAN OF CORRECTION 5)
PREFIX (EACH DEFICIENCY MUST BE PRECEDED BY FULL PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
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DEFICIENCY)
V 118] Continued From page 4 V 118
single box in the MAR and all medications are The MAR form has been
signed with a single set of initials regardless of changed sO that each
the number of medications administered. medication is listed
a individually.
During individual interviews with clients #1-4 on
2/26/10, they stated their medications were
administered to them.
The MAR has been
During interviews with the Field Medic on 3/1/10 adjusted so that Field
and aan 0, he acknowledged that Stati did not Instructors sign for each
sign off for individual medications which they + anti a
administered. medication administered.
V 123) 27G .0209 (H) Medication Requirements V 123

10A NCAC 27G .0209 MEDICATION
REQUIREMENTS

(h) Medication errors. Drug administration errors
and significant adverse drug reactions shall be
reported immediately to a physician or
pharmacist. An entry of the drug administered
and the drug reaction shall be properly recorded
in the drug record. A client's refusal of a drug
shall be charted.

This Rule is not met as evidenced by:

Based on record review and interviews, the
facility failed to ensure medication errors were
reported immediately to a pharmacist or doctor,
effecting 3 of 4 clients audited #1, #2, #4). The
findings are:

Review of client records on 2/26/10 revealed
Client #1 was admitted to the facility on 12/30/09
and was being administered Strattera 40 mg, 1
tab by mouth daily; and a multivitamin, 1 tab by

Division of Health Service Regulation

STATE FORM

6899

4B4311

If continuation sheet 5 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 5 of 34

PRINTED: 03/23/2010

. FORM APPROVED
Division of Health Service Regulation
STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
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A. BUILDING
B. WING
MHLO088-020 03/04/2010

NAME OF PROVIDER OR SUPPLIER

TRAILS CAROLINA

STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747

(x4) ID
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TAG

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PREFIX
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PROVIDER'S PLAN OF CORRECTION
(EACH CORRECTIVE ACTION SHOULD BE
CROSS-REFERENCED TO THE APPROPRIATE
DEFICIENCY)

8)
COMPLETE
DATE

V 123

V 131

Continued From page 5

mouth daily. The review also revealed Client #2
was admitted on 12/29/09 and was being
administered Effexor 75 mg, 3 caps by mouth
each morning; Yaz 3-0.2 mg, 1 tab by mouth
daily, and Trazodone 80 mg, 1/2 or 1 tab by
mouth at bedtime. The review further revealed
Client #4 was admitted to the facility on 9/19/09,
and was being administered a multivitamin, 1 tab
by mouth daily; Lexapro 10 mg, 1 tab by mouth
daily; Focalin 10 mg, 1 tab by mouth daily; and
Zyprexa 5 mg, 1 tab by mouth at bedtime.

Review of incident reports on 3/1/10 revealed
Client #1 refused his medications on 12/31/09,
1/1/19, and 1/2/10. The review further revealed
Client #2 had refused her dose of Effexor 75 mg
x3 caps on 12/30/09. The review also revealed
Client #4 had refused his morning doses of
Lexapro 10 mg, and Focalin 10 mg on 10/17/09,
12/1/09, 12/9/09, 12/12/09, 1/2/10, and 1/4/10,
and his night dose of Zyprexa 5 mg, on 10/18/09,
10/24/09, 10/25/09,12/31/09, and 1/1/10.

The review of incident reports also revealed no
documentation of these medication errors for
Clients #1, #2, and #4 being reported immediately
to the pharmacist or client's physician.

Interviews with the facility Field Medic on 3/1/09
revealed staff had no recollection of making a call
to either the pharmacist or doctor following Client
#1, #2, and #4 refusing their medications on the
dates listed above. Staff #3 acknowledged either
the doctor or pharmacist should have been
notified of the medication refusals.

G.S. 131E-256 (D2) HCPR - Prior Employment
Verification

G.S. §131E-256 HEALTH CARE PERSONNEL

V 123

V 131

if a student misses or
refuses their medications,
the Field Instructors will
contact the staff that is
Primary Response. The
Primary Response will
ensure that the Pharmacist
is contacted immediately.

Division of Health Service Regulation

STATE FORM

6899

4B4311

If continuation sheet 6 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 6 of 34

Division of Health Service Regulation

PRINTED: 03/23/2010
FORM APPROVED

STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA
AND PLAN OF CORRECTION IDENTIFICATION NUMBER:

MHL088-020

(X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
COMPLETED
A. BUILDING

B. WING

03/04/2010

NAME OF PROVIDER OR SUPPLIER

TRAILS CAROLINA

STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747

(X4) ID
PREFIX
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SUMMARY STATEMENT OF DEFICIENCIES
(EACH DEFICIENCY MUST BE PRECEDED BY FULL
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ID PROVIDER'S PLAN OF CORRECTION (*8)
PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
TAG CROSS-REFERENCED TO THE APPROPRIATE DATE
DEFICIENCY)

V 131

Continued From page 6

REGISTRY

(d2) Before hiring health care personnel into a
health care facility or service, every employer at a
health care facility shall access the Health Care
Personnel Registry and shall note each incident
of access in the appropriate business files.

This Rule is not met as evidenced by:

Based on record review and interviews the facility
failed to access the NC Division of Facility
Services Health Care Personnel Registry (HCPR)
to inquire about substantiated findings of abuse,
neglect, and/or exploitation by each employee
before hiring, as required under G.S.131E-256,
for 4 of 5 direct care staff records reviewed ( Staff
#1 #2,#3, and the Facility Manager). The findings
are:

Review of personnel files on 3/1/10 revealed Staff
#1's hire date was 6/15/09, but Staff #1's HCPR
check was not conducted until 11/19/09. Staff
#2's hire date was 5/1/09, but this staffs HCPR
check was not conducted until 6/15/09. Further
review of personnel files revealed Staff #3's hire
date was 5/1/09, but this staffs HCPR check was
not conducted until 6/11/09. The Facility Manager
was hired on 4/1/08, but his HCPR check was not
performed until 11/21/08.

During interviews with The Executive Director and
the Human Resources Manager (HRM) on
3/4/10, staff were asked to locate and produce
documentation which would verify the HCPR had
been accessed prior to hiring in regard to the
above listed staff. Staff was not able to produce

V 131

Division of Health Service Regulation

STATE FORM

6899 484311 lf continuation sheet 7 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 7 of 34

Division of Health Service Regulation

PRINTED: 03/23/2010
FORM APPROVED

STATEMENT OF DEFICIENCIES
AND PLAN OF CORRECTION

(1) PROVIDER/SUPPLIER/CLIA
IDENTIFICATION NUMBER:

MHL088-020

(X2) MULTIPLE CONSTRUCTION

A. BUILDING
B. WING

(X3) DATE SURVEY
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03/04/2010

NAME OF PROVIDER OR SUPPLIER

TRAILS CAROLINA

STREET ADDRESS, CITY, STATE, ZIP CODE

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DEFICIENCY)

CROSS-REFERENCED TO THE APPROPRIATE

XS)
COMPLETE
DATE

V 131

V 132

Continued From page 7

the requested verification for any of the staff
listed. The HRM acknowledged they were aware
of the requirement to do the HCPR check, but
was not aware of the time requirement to
complete the checks prior to hire.

G.S. 131E-256(G) HCPR-Notification,
Allegations, & Protection

G.S. §131E-256 HEALTH CARE PERSONNEL
REGISTRY

(g) Health care facilities shall ensure that the
Department is notified of all allegations against
health care personnel, including injuries of
unknown source, which appear to be related to
any act listed in subdivision (a)(1) of this section.
(which includes:

a. Neglect or abuse of a resident in a healthcare
facility or a person to whom home care services
as defined by G.S. 131E-136 or hospice services
as defined by G.S. 131E-201 are being provided.
b. Misappropriation of the property of a resident
in a health care facility, as defined in subsection
(b) of this section including places where home
care services as defined by G.S. 131E-136 or
hospice services as defined by G.S. 131E-201
are being provided.

c. Misappropriation of the property of a
healthcare facility.

d. Diversion of drugs belonging to a health care
facility or to a patient or client.

e. Fraud against a health care facility or against
a patient or client for whom the employee is
providing services).

Facilities must have evidence that all alleged
acts are investigated and must make every effort
to protect residents from harm while the
investigation is in progress. The results of all
investigations must be reported to the
Department within five working days of the initial

V 131

V 132

The Human Resource
Manager will run all names
and social security
numbers, of all new hires,
through the Health Care
Personnel Registry before
their hire date.

Division of Health Service Regulation

STATE FORM

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 8 of 34

8899 4B4311

If cantinuation sheet 8 of 34

PRINTED: 03/23/2010
FORM APPROVED
Division of Health Service Requlation

STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
AND PLAN OF CORRECTION IDENTIFICATION NUMBER: A. BUILDING COMPLETED

B. WING
MHL088-020 03/04/2010

NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
TRAILS CAROLINA LAKE TOXAWAY, NC 28747

(x4) ID SUMMARY STATEMENT OF DEFICIENCIES ID PROVIDER'S PLAN OF CORRECTION (x5)
PREFIX (EACH DEFICIENCY MUST BE PRECEDED BY FULL PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
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DEFICIENCY)

V 132] Continued From page 8 V 132

notification to the Department.

All allegations of abuse will
be counseled with our

This Rule is not met as evidenced by: outside Clinical Supervisor
Based on review of records and interviews, the within 24 hours of the
facility failed to ensure that the Health Care incident, by a Trails
Personnel Registry (HCPR) was notified of all Manager

allegations against health care personnel. The ,
findings are: Oo
All allegations of abuse
Cross refer Tag V 500 10A NCAC 27D .0101(b) and neglect will be

(1) Policy on Rights Restrictions and reported to the Health Care
Interventions. The facility failed to implement it's Registry

policy and ensure allegations of abuse were ,
reported.

V 133) G.S. 122C-80 Criminal History Record Check V 133

G.S. §122C-80 CRIMINAL HISTORY RECORD
CHECK REQUIRED FOR CERTAIN
APPLICANTS FOR EMPLOYMENT.

(a) Definition. - As used in this section, the term
"provider" applies to an area authority/county
program and any provider of mental health,
developmental disability, and substance abuse
services that is licensable under Article 2 of this
Chapter.

(b) Requirement. - An offer of employment by a
provider licensed under this Chapter to an
applicant to fill a position that does not require the
applicant to have an occupational license is
conditioned on consent to a State and national
criminal history record check of the applicant. If
the applicant has been a resident of this State for
Division of Health Service Regulation

STATE FORM 6899 4B4311 If continuation sheet 9 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 9 of 34

Division of Health Service Regulation

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STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA
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MHL088-020

(X2) MULTIPLE CONSTRUCTION
A, BUILDING

B. WING

(X3) DATE SURVEY
COMPLETED

03/04/2010

NAME OF PROVIDER OR SUPPLIER

TRAILS CAROLINA

STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747

(X4) ID
PREFIX
TAG

SUMMARY STATEMENT OF DEFICIENCIES
(EACH DEFICIENCY MUST BE PRECEDED BY FULL
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ID PROVIDER'S PLAN OF CORRECTION (5)
PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
TAG CROSS-REFERENCED TO THE APPROPRIATE DATE

V 133

Continued From page 9

less than five years, then the offer of employment
is conditioned on consent to a State and national
criminal history record check of the applicant. The
national criminal history record check shall
include a check of the applicant's fingerprints. If
the applicant has been a resident of this State for
five years or more, then the offer is conditioned
on consent to a State criminal history record
check of the applicant. A provider shall not
employ an applicant who refuses to consent to a
criminal history record check required by this
section. Except as otherwise provided in this
subsection, within five business days of making
the conditional offer of employment, a provider
shall submit a request to the Department of
Justice under G.S. 114-19.10 to conduct a
criminal history record check required by this
section or shall submit a request to a private
entity to conduct a State criminal history record
check required by this section. Notwithstanding
G.S. 114-19.10, the Department of Justice shall
return the results of national criminal history
record checks for employment positions not
covered by Public Law 105-277 to the
Department of Health and Human Services,
Criminal Records Check Unit. Within five
business days of receipt of the national criminal
history of the person, the Department of Health
and Human Services, Criminal Records Check
Unit, shall notify the provider as to whether the
information received may affect the employability
of the applicant. In no case shall the results of the
national criminal history record check be shared
with the provider. Providers shall make available
upon request verification that a criminal history
check has been completed on any staff covered
by this section. A county that has adopted an
appropriate local ordinance and has access to
the Division of Criminal Information data bank
may conduct on behalf of a provider a State

V 133

Division of Health Service Regulation

STATE FORM

8899 4B4311

If continuation sheet 10 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 10 of 34

PRINTED: 03/23/2010

FORM APPROVED
Division of Health Service Regulation
STATEMENT OF DEFICIENCIES (<1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
AND PLAN OF CORRECTION IDENTIFICATION NUMBER: COMPLETED
A. BUILDING
B. WING
MHLO088-020 03/04/2010
NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE
500 WINDING GAP ROAD
TRAILS CAROLINA LAKE TOXAWAY, NC 28747
(x4) ID SUMMARY STATEMENT OF DEFICIENCIES ID PROVIDER'S PLAN OF CORRECTION (x5)
PREFIX (EACH DEFICIENCY MUST BE PRECEDED BY FULL PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
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DEFICIENCY)
V 133) Continued From page 10 V 133

criminal history record check required by this
section without the provider having to submit a
request to the Department of Justice. In such a
case, the county shall commence with the State
criminal history record check required by this
section within five business days of the
conditional offer of employment by the provider.
All criminal history information received by the
provider is confidential and may not be disclosed,
except to the applicant as provided in subsection
(c) of this section. For purposes of this
subsection, the term "private entity” means a
business regularly engaged in conducting
criminal history record checks utilizing public
records obtained from a State agency.

(c) Action. - If an applicant's criminal history
record check reveals one or more convictions of
a relevant offense, the provider shall consider all
of the following factors in determining whether to
hire the applicant:

(1) The level and seriousness of the crime.

(2) The date of the crime.

(3) The age of the person at the time of the
conviction.

(4) The circumstances surrounding the
commission of the crime, if known.

(5) The nexus between the criminal conduct of
the person and the job duties of the position to be
filled.

(6) The prison, jail, probation, parole,
rehabilitation, and employment records of the
person since the date the crime was committed.
(7) The subsequent commission by the person of
a relevant offense.

The fact of conviction of a relevant offense alone
shall not be a bar to employment; however, the
listed factors shall be considered by the provider.
If the provider disqualifies an applicant after
consideration of the relevant factors, then the
provider may disclose information contained in

Division of Health Service Regulation

STATE FORM

6899

4B4311

If continuation sheet 11 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 11 of 34

Division of Health Service Regulation

PRINTED: 03/23/2010
FORM APPROVED

STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA
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MHL088-020

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V 133

Continued From page 11

the criminal history record check that is relevant
to the disqualification, but may not provide a copy
of the criminal history record check to the
applicant.

(d) Limited Immunity. - A provider and an officer
or employee of a provider that, in good faith,
complies with this section shall be immune from
civil liability for:

(1) The failure of the provider to employ an
individual on the basis of information provided in
the criminal history record check of the individual.
(2) Failure to check an employee's history of
criminal offenses if the employee's criminal
history record check is requested and received in
compliance with this section.

(e) Relevant Offense. - As used in this section,
“relevant offense” means a county, state, or
federal criminal history of conviction or pending
indictment of a crime, whether a misdemeanor or
felony, that bears upon an individual's fitness to
have responsibility for the safety and well-being of
persons needing mental health, developmental
disabilities, or substance abuse services. These
crimes include the criminal offenses set forth in
any of the following Articles of Chapter 14 of the
General Statutes: Article 5, Counterfeiting and
Issuing Monetary Substitutes; Article 5A,
Endangering Executive and Legislative Officers;
Article 6, Homicide; Article 7A, Rape and Other
Sex Offenses; Article 8, Assaults; Article 10,
Kidnapping and Abduction; Article 13, Malicious
Injury or Damage by Use of Explosive or
Incendiary Device or Material; Article 14, Burglary
and Other Housebreakings; Article 15, Arson and
Other Burnings; Article 16, Larceny; Article 17,
Robbery; Article 18, Embezzlement; Article 19,
False Pretenses and Cheats; Article 19A,
Obtaining Property or Services by False or
Fraudulent Use of Credit Device or Other Means;
Article 19B, Financial Transaction Card Crime

V 133

Division of Health Service Regulation
STATE FORM

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If continuation sheet 12 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 12 of 34

PRINTED: 03/23/2010

FORM APPROVED
Division of Health Service Regulation
STATEMENT OF DEFICIENCIES 1) PROVIDER/SUPPLIER/CLIA MULTIPLE CONSTRUCTION (X3) DATE SURVEY
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V 133 | Continued From page 12 V 133

Act; Article 20, Frauds; Article 21, Forgery; Article
26, Offenses Against Public Morality and
Decency; Article 26A, Adult Establishments;
Article 27, Prostitution; Article 28, Perjury; Article
29, Bribery; Article 31, Misconduct in Public
Office; Article 35, Offenses Against the Public
Peace; Article 36A, Riots and Civil Disorders;
Article 39, Protection of Minors; Article 40,
Protection of the Family; Article 59, Public
Intoxication; and Article 60, Computer-Related
Crime. These crimes also include possession or
sale of drugs in violation of the North Carolina
Controlled Substances Act, Article 5 of Chapter
90 of the General Statutes, and alcohol-related
offenses such as sale to underage persons in
violation of G.S. 18B-302 or driving while
impaired in violation of G.S. 20-138.1 through
G.S. 20-138.5.

(f) Penalty for Furnishing False Information. - Any
applicant for employment who willfully furnishes,
supplies, or otherwise gives false information on
an employment application that is the basis for a
criminal history record check under this section
shall be guilty of a Class A1 misdemeanor.

(g) Conditional Employment. - A provider may
employ an applicant conditionally prior to
obtaining the results of a criminal history record
check regarding the applicant if both of the
following requirements are met:

(1) The provider shall not employ an applicant
prior to obtaining the applicant's consent for
criminal history record check as required in
subsection (b) of this section or the completed
fingerprint cards as required in G.S. 114-19.10.
(2) The provider shall submit the request for a
criminal history record check not later than five
business days after the individual begins
conditional employment. (2000-154, s. 4;
2001-155, s. 1; 2004-124, ss. 10.19D(c), (h);
2005-4, ss. 1, 2, 3, 4, 5(a); 2007-444, s. 3.)

Division of Health Service Regulation

STATE FORM

6899

4B4311

If continuation sheet 13 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 13 of 34
PRINTED: 03/23/2010

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Division of Health Service Regulation
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V 133 Continued From page 13 V 133

This Rule is not met as evidenced by:

Based on review of records and interviews, the
facility failed to conduct a nation-wide criminal
background check on all employees who have
not lived in North Carolina for the last 5 years, as
required by GS122C-80, Article 3A. The deficient
practice was found in 4 of 5 direct care staff
records reviewed. (#1, #2, #3 and Facility
Manager). The findings are:

Review of personnel records of direct care staff
on 3/1/10 revealed the files of Staff #1, #2, #3,
and the Facility Manager did not contain a
nationwide North Carolina State Bureau of
Investigation (SBI) criminal background check.
The record review further revealed Staff #1 had
been hired on 6/15/09 and had resided in
Washington State until August, 2005, Staff #2
had been hired on 5/1/09 and had resided in
Kansas, Colorado, Idaho and Tennessee within 5
years of hire. Staff #3 was hired 5/1/09, and had
resided in Michigan within 5 years of her hire
date. The Facility Manager was hired 4/1/08, and
had resided in Idaho within 5 years of his hire
date.

Interviews with the Executive Director and the
Human Resources Manager on 3/4/09 revealed
the facility Human Resources staff conducts
statewide and national criminal background
checks using an on-line background check
company, but SBI nationwide checks had been
neither initiated nor completed for any of the
above listed staff .

The Human Resource
Manager has filled out and
sent the "Non- Criminal
Justice Access Agreement
for National Criminal
History for Long Term Care
Facilities"

Once the agreement has
been approved all future
employees who have lived
outside of NC in the past 5
years, will have their
background check run
through SBI.

STATE FORM

Division of Health Service Regulation

6899

4B4311

If continuation sheet 14 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 14 of 34

Division of Health Service Regulation

PRINTED: 03/23/2010
FORM APPROVED

STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA
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Continued From page 14
27D .0101(a-e) Client Rights - Policy on Rights

10A NCAC 27D .0101 POLICY ON RIGHTS
RESTRICTIONS AND INTERVENTIONS

(a) The governing body shall develop policy that
assures the implementation of G.S. 122C-59,
G.S. 122C-65, and G.S. 122C-66.

(b) The governing body shall develop and
implement policy to assure that:

(1) all instances of alleged or suspected
abuse, neglect or exploitation of clients are
reported to the County Department of Social
Services as specified in G.S. 108A, Article 6 or
G.S. 7A, Article 44; and

(2) procedures and safeguards are
instituted in accordance with sound medical
practice when a medication that is known to
present serious risk to the client is prescribed.
Particular attention shall be given to the use of
neuroleptic medications.

(c) In addition to those procedures prohibited in
10A NCAC 27E .0102(1), the governing body of
each facility shall develop and implement policy
that identifies:

(1) any restrictive intervention that is
prohibited from use within the facility; and

(2) in a 24-hour facility, the circumstances
under which staff are prohibited from restricting
the rights of a client.

(d) If the governing body allows the use of
restrictive interventions or if, in a 24-hour facility,
the restrictions of client rights specified in G.S.
122C-62(b) and (d) are allowed, the policy shall
identify:

(1) the permitted restrictive interventions or
allowed restrictions;

(2) the individual responsible for informing
the client; and

(3) the due process procedures for an
involuntary client who refuses the use of

V 500
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Division of Health Service Regulation

STATE FORM

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{f continuation sheet 15 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 15 of 34
Division of Health Service Regulation

PRINTED: 03/23/2010
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V 500} Continued From page 15

restrictive interventions.

(e) If restrictive interventions are allowed for use
within the facility, the governing body shall
develop and implement policy that assures
compliance with Subchapter 27E, Section .0100,
which includes:

(1) the designation of an individual, who
has been trained and who has demonstrated
competence to use restrictive interventions, to
provide written authorization for the use of
restrictive interventions when the original order is
renewed for up to a total of 24 hours in
accordance with the time limits specified in 10A
NCAC 27E .0104(e)(10)(E);

(2) the designation of an individual to be
responsible for reviews of the use of restrictive
interventions; and

(3) the establishment of a process for
appeal for the resolution of any disagreement
over the planned use of a restrictive intervention.

This Rule is not met as evidenced by:

Based on review of facility records, and
interviews, the facility failed to implement their
policy requiring and ensuring the Department of
Social Services (DSS), in the county where
services are provided, was notified of all
allegations of resident abuse by health care
personnel, affecting one of four sampled clients
(#4). The findings are:

A review of facility records on 3/1/10 revealed an
incident report dated 12/23/09 and 2 incident
reports dated 12/24/09 addressing a restraint of
Client #4 which occurred on 12/23/09. The report
by the Facility Manager dated 12/23/09 stated he
"restrained (Client #4) to ground and held until
staff intervened." The attached Physical

V 500

Division of Health Service Regulation
STATE FORM

6899

4B4311

If continuation sheet 16 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 16 of 34

Division of Health Service Regulation

PRINTED: 03/23/2010
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V 500

Continued From page 16

Intervention report also completed by the Facility
Manager on 12/23/09 revealed, in the section
asking if the student was injured during the
intervention, Client #4 got a "bloody lip trying to
bite staff."

Review on 3/1/10 of the 2 incident reports
completed 12/24/09 revealed Staff #1 and Staff
#2 witnessed the Facility Manager strike Client #4
during the restraint on 12/23/09. The incident
report by Staff #1 revealed he “saw [the Facility
Manager] hit [Client #4] in the face ... and
observed [Client#4] had blood in his mouth." The
incident report by Staff #2 revealed the Facility
Manager "took student to ground and punched
[Client #4] in the lip.”

A review on 3/1/10 of an internal investigation
report revealed the Executive Director(ED) was
out of town and learned of allegations by Client
#4 and Staff #1 and #2 in a phone call from the
Admissions Director(AD) on 12/23/09. The AD
was in charge of facility in the absence of the ED.
The AD documented an interview at
approximately 4:30 PM on 12/23/09 with Client
#4, during which Client #4 told him he had hit the
Facility Manager in the face and the Facility
Manager hit him back in the face.

Review on 3/1/10 of facility policy and procedures
for reporting allegations of abuse revealed: "
Policy: The therapist shall provide a leadership
role in the identification, reporting, and
follow-upon child abuse issues. ...

Procedures: ...3. The therapist will receive
supervision from a clinical supervisor and the
Executive Director to determine if there is enough
data to warrant a "reasonable suspicion” that a
student has been the victim of abuse. That is all
that is required for a suspected report. ...

V 500

Division of Health Service Regulation

STATE FORM

S899 4B4311 If continuation sheet 17 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 17 of 34
PRINTED: 03/23/2010

FORM APPROVED
Division of Health Service Regulation
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V 500! Continued From page 17 Vv 500

6. c. Documentation will be made on the Abuse,
Neglect, and Dependency Report, Attachment 2
and will be forwarded to the Department of Social
Services (DSS)."

Review of facility records on 3/1/10 revealed no
Abuse, Neglect, and Dependency Report,
Attachment 2 was on file, nor was there
documentation that such a report had been
forwarded to DSS.

Interviews with Staff #1 and the Facility Manager
on 2/26/10, and with Staff #2 on 3/4/10,
confirmed that the Facility Manager actively
participated in the restraint of Client #4 on
12/23/09, and that Client #4 was injured as a
result of the Facility Manager's participation. The
Facility manager admitted to punching Client #4
in the face, and both Staff #1 and Staff #2
revealed their belief that the punch was
intentional, and not accidental.

During interviews with the Executive Director and
Human Resources Manager on 2/26/10 and
3/1/10, staff were asked to locate and provide
documentation of any in-house investigation or
other documentation pertaining to the restraint of
Client #4 on 12/23/09. Staff were able to produce
incident reports regarding the incident, a
summary of the AD's interview with Client #4 on
12/23/09, and a timeline documenting the ED's
contacts along with a brief summary of those
contacts regarding the 12/23/09 incident. Staff
failed to provide verification of an in-house
investigation, other than the interview with Client
#4, and were unable to produce the Abuse,
Neglect, and Dependency Report, Attachment 2.
Staff also acknowledged no report had been filed
with DSS, nor had a report been filed with the
Health Care Personnel Registry.

Division of Health Service Regulation

STATE FORM

6899

4B4311

If continuation sheet 18 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 18 of 34

Division of Health Service Requlation

PRINTED: 03/23/2010
FORM APPROVED

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V 503

27D .0103 Client Rights - Search And Seizure
Policy

10A NCAC 27D .0103 SEARCH AND
SEIZURE POLICY

(a) Each client shall be free from unwarranted
invasion of privacy.

(b) The governing body shall develop and
implement policy that specifies the conditions
under which searches of the client or his living
area may occur, and if permitted, the procedures
for seizure of the client's belongings, or property
in the possession of the client.

(c) Every search or seizure shall be documented.
Documentation shall include:

(1) scope of search;

(2) reason for search;

(3) procedures followed in the search;

(4) a description of any property seized;
and

(5) an account of the disposition of seized

property.

This Rule is not met as evidenced by:

Based on record review, policy and procedure
review, and interviews , the facility failed to
implement their policy that prohibits restricting the
rights of a client, using search and seizure,
affecting 3 of 4 clients audited (#1-3). The
Findings are:

Review of G.S. 122C-62 (b) and (d) on 3/1/10
revealed the following: "...(d) except as provided
in subsections (e) and (h) of this section, each
minor child who is receiving treatment or
habilitation in a 24 hour facility has the right to;...
(6) except as prohibited by law keep and use
personal and possessions under appropriate
supervision... (e)...No right enumerated in
subsection (b) or (d) of this section may be

V 503

Trails Carolina will
discontinue the procedure
of seizing clients’ pants
and shoes, unless client is
deemed at risk for
self-harm.

Trails will implement a
protocol that specifies the
conditions under which
searches and seizures of
the client may occur.

The Field Director is
responsible for all field
procedures.

Division of Health Service Regulation
STATE FORM 6899 4B4311 If continuation sheet 19 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 19 of 34
PRINTED: 03/23/2010

FORM APPROVED
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V 503) Continued From page 19 V 503

limited or restricted except by the qualified
professional (QP) responsible for the formulation
of the child's treatment or habilitation plan. A
written statement shall be placed in the client's
record that indicated the detailed reason for the
restriction. The restriction shall be reasonable
and related to the client's treatment or habilitation
needs. A restriction is effective for a period not to
exceed 30 days. An evaluation of each restriction
shall be conducted by the QP at least once every
7 days at which time the restriction may be
removed. Each evaluation of a restriction shall be
documented in the client's record. Restrictions on
rights may be renewed only by a written
statement entered by the QP in the client's record
that states the reason for the renewal of the
restriction.”

Review of agency search and seizure policy on
3/1/10 revealed, "It is the policy of TRAILS
Carolina to protect the privacy of each client.
Searches and seizure will only be conducted of
client under the following conditions:

1. At enrollment to check for contraband and to
ensure proper outfitting with the program's gear.

2. In the event that the student's group is missing
valuables, food, gear, or program tools. ...

3. In an event that a search is warranted to
ensure the safety of staff or students.

All searches and seizures will be documented in
the client file and will include no less than the
following: Scope of search, reason for search,
procedures followed in search, description of
property seized; and account of the disposition of
the seized property.”

Review of client records on 2/26/10 revealed
there was no documentation by the QP allowing
any of the client's shoes or clothing to be taken.

Division of Health Service Regulation

STATE FORM

§B99

4B4311

If continuation sheet 20 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 20 of 34

PRINTED: 03/23/2010
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Division of Health Service Regulation

STATEMENT OF DEFICIENCIES (1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
AND PLAN OF CORRECTION IDENTIFICATION NUMBER: A. BUILDING COMPLETED

B. WING
MHL088-020 03/04/2010

NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
TRAILS CAROLINA LAKE TOXAWAY, NC 28747

(X4) 1D SUMMARY STATEMENT OF DEFICIENCIES ID PROVIDER'S PLAN OF CORRECTION (x5)

PREFIX (EACH DEFICIENCY MUST BE PRECEDED BY FULL PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
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DEFICIENCY)

V 503; Continued From page 20 V 503

Review further revealed none of the 3 clients
audited had a history of running away.

During interviews with Clients #1-3 on 2/26/10,
the clients confirmed that their shoes and pants
were taken by staff on a nightly basis.

During interviews with both direct care staff, and
the Executive Director, on 2/26/10, 3/1/10, and
3/4/10 all parties acknowledged that clients shoes
and pants were seized each night and returned
the following morning. Staff reported this was
done to prevent the clients from attempting to run
away and that the practice had been standard
operating procedure since the facility opened.
Interviews further revealed the staff and
executive director acknowledged no
documentation of these seizures had been
completed.

V 512! 27D .0304 Client Rights - Harm, Abuse, Neglect | V 512

10A NCAC 27D .0304 PROTECTION FROM
HARM, ABUSE, NEGLECT OR EXPLOITATION
(a) Employees shall protect clients from harm,
abuse, neglect and exploitation in accordance
with G.S. 122C-66.

(b) Employees shall not subject a client to any
sort of abuse or neglect, as defined in 10A NCAC
27C .0102 of this Chapter.

(c) Goods or services shall not be sold to or
purchased from a client except through
established governing body policy.

(d) Employees shall use only that degree of force
necessary to repel or secure a violent and
aggressive client and which is permitted by
governing body policy. The degree of force that
is necessary depends upon the individual
characteristics of the client (such as age, size
and physical and mental health) and the degree

Division of Health Service Regulation
STATE FORM 6899 4B4311 \f continuation sheet 21 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 21 of 34
Division of Health Service Regulation

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STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA
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03/04/2010

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V 512

Continued From page 21

of aggressiveness displayed by the client. Use of
intervention procedures shall be compliance with
Subchapter 10A NCAC 27E of this Chapter.

(e) Any violation by an employee of Paragraphs
(a) through (d) of this Rule shall be grounds for
dismissal of the employee.

This Rule is not met as evidenced by:

Based on record review and interviews, facility
staff failed to protect 1 of 4 clients audited from
abuse (#4). The findings are:

Review of client records on 2/26/10 revealed
Client #4 was admitted to the facility on 9/19/09,
with diagnoses of Bipolar Disorder, Disruptive
Behavior Disorder, and Intermittent Explosive
Anger Disorder. Review further revealed, Client
#4 graduated from the program on 1/13/10.

Review of staff records on 2/26/10 revealed the
Facility Manager was hired 4/1/08. Review further
revealed, his Crisis Prevention Intervention (CPI)
training was effective 1/10 through 1/11.

Review on 2/25/10 of incident reports dated
12/24/09 revealed the following:

1) Staff #1's incident report stated: "Client #4
grabbed the rope from Staff #2 and refused to let
go. Client #4 then began to kick Staff #2 in the
legs, bit and punched him (Staff #2) in the face
and body. The Facility Manager attempted to
verbally de-escalate Client #4 but was
unsuccessful. Client #4 was taken to the ground
by the Facility Manager and was assisted by Staff
#1 and #2. Client #4 was released and
immediately attacked the Facility Manager again.
The facility Manager "took student (Client #4) to
ground and punched [Client #4] in the lip." Staff

V 512

Division of Health Service Regulation

STATE FORM

6899 4B4311 {f continuation sheet 22 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 22 of 34

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STATEMENT OF DEFICIENCIES 1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
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MHL088-020 03/04/2010

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V 512| Continued From page 22 V 512

#1 and #2 joined in a hold a second time. Client
#4 was released a second time. Client #4
approached the Facility Manager a third time and
continued to punch and kick. The Facility
Manager attempted verbal de-escalation again
and took Client #4 to the ground. Client #4 was
released almost immediately."

2) Staff #2's incident report stated: "...Group was
dropping near bear hang when [Client #4] refused
to give bear rope to staff [Staff #1] and
threatened to hit [Staff #1] in the face if he took it.
[Staff #1] told student that he needed to take
rope. [Client #4] then hit [Staff #1] in the face and
continued a physical attack hitting, kicking, and
biting [Staff #2]. [Staff #2] used deflection to avoid
injury and tried to verbally de-escalate the
situation. Staff [Facility Manager] was walking by
and tried to verbally de-escalate student [Client
#4]. [Client #4] said it was none of [Facility
Manager] business and if he didn't leave then he
[Client #4] would hit and kick [Facility Manager]
was well. [Facility Manager] said he would not
leave and that [Client #4] could not hurt staff at
which time [Client #4] stopped hitting staff and
began to kick and hit staff [Facility Manager].
[Facility Manager] told [Client #4] to stop hitting
and kicking and when [Client #4] did not [Facility
Manager] layed hands on [Client #4] grabbing his
collar and lowering him to the ground. The time
was 4:30 PM. Staff [Staff #2] intervened to
separate staff and student taking control of
student [Client #4's] legs to keep staff [Facility
Manager] from getting kicked. [Staff #2]
immediately called staff [Staff #1] to take control
of [Client #4’s] legs to allow him [Staff #2] to
control [Client #4's] upper body to release staff
{Facility Manager]. Staff [Facility Manager] did not
release control so [Staff #2] called for a release.

Division of Health Service Regulation
STATE FORM 899 4B4311 If continuation sheet 23 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 23 of 34
PRINTED: 03/23/2010

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V 512| Continued From page 23 V 512

All staff released control. [Client #4] then
continued to attack staff [Facility Manager] hitting
and kicking. Staff [Staff #2] had called for support
on the radio at 4:45 PM. Staff [Facility Manager]
grabbed student [Client #4] by the collar of his
shirt and quickly lowered him to the ground. Staff
[Staff #2] attempted to intervene with staff [Staff
#1] when [Staff #2] saw [Facility Manager] hit
[Client #4] in the face after being hit by [Client
#4]. [Staff #2] took control of [Client #4] with [Staff
#1] assisting and observed that [Client #4] had
blood in his mouth. Support showed up at this
time. All staff released control of [Client #4].
[Client #4] then began to follow staff [Facility
Manager] and attempt to assault him. The time
was 5:15 PM. [Facility Manager] took [Client #4]
by the shirt front again and pushed him to the
ground, and then released him..."

3) The Facility Manager's incident report dated
12/23/09 reported: "Observed student (Client #4)
yelling kicking and punching staff. Went to
observe and try to defuse the situation. Client
turned on me with verbal, kicking punching and
biting." The intervention used included
"Restrained to ground and held until staff
intervened.”

Review on 2/25/10 of Facility Managers physical
intervention report dated 12/23/09 revealed the
following:

a) Behavior That Necessitated the Physical
intervention: "Punching and kicking staff-

verbal abuse.”

b) Positive and Less Restrictive Alternatives
Used or Considered: "Talking and _ reasoning."

c) What Danger Necessitated the
Intervention? "Several punches and kick.”

d) Precipitating Factors of the Intervention:
“Escalated student assaulting 2 staff."

Division of Health Service Regulation

STATE FORM

6699

4B4311

If continuation sheet 24 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 24 of 34

PRINTED: 03/23/2010
FORM APPROVED
Division of Health Service Regulation

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V 512) Continued From page 24 V512

e) Was The Student Injured During the
Physical Intervention? "Yes. Bloody lip trying to
bite staff."

f) Description of Plan to Minimize Future
Physical Interventions: Minimize contact and ask
for support in situations."

Review on 2/25/10 of the Director of Admissions
investigative report dated 12/23/09 revealed the
following: "...According to [Client #4], {Staff #2]
was making his life difficult with the bear bag
ropes and so he decided to kick him. [Staff #2]
asked him to stop and he did not and walked off.
[Client #4] reported that [Staff #2] tackled him and
was holding him down, so in defense, he began
hitting him. [Staff #2] then was holding him down
and so [Client #4] continued to kick him and get
him to give him the rope. [Facility Manager] came
down from cabin 1 and told [Client #4] to stop
hitting [Staff #2]. [Client #4] told him (Facility
Manager) that it was none of his business and
that he would do what he wanted. He (Client #4)
kept hitting and punching [Staff #2] and [Facility
Manager] intervened and restrained him. [Client
#4] reports that when he got back up that he went
after [Facility Manager] many times and [Facility
Manager] restrained him again. [Staff #2] at this
point had his legs. He (client #4) said that he
went after [Facility Manager] in frustration and hit
him in the face and that [Facility Manager] hit him
back in the face.”

Record review on 2/26/10 revealed, neither a 24
Hour Initial Report nor a 5-Working Day Report
to Health Care Personnel Registry (HCPR) had
been completed.

Interview with Staff #1 on 2/25/10 revealed, there
were teeth marks in Client #4's lip. "He bit his lip
when he was hit (by the facility manager).”

Division of Health Service Regulation
STATE FORM 6B89 4B4311 if continuation sheet 25 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 25 of 34
Division of Health Service Regulation

PRINTED: 03/23/2010
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MHL088-020

(X2) MULTIPLE CONSTRUCTION
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STREET ADDRESS, CITY, STATE, ZIP CODE

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V 512

Continued From page 25

Interview further revealed Client #4's injury was
the result of the hit. Interview further revealed, the
facility manager did not utilize approved
restrictive intervention techniques.

Interview with Staff #2 on 3/4/10 revealed, he
witnessed the facility manager punch Client #4 in
the mouth. "He (facility manager) was pushing
him (Client #4) at the same time and popped him,
he did not wind up and clock him." Interview
further revealed, Client #4 had a bloody lip which
was associated with the hit. Interview further
revealed, the facility manager did not utilize
approved restrictive intervention techniques. "He
(facility manager) pushed him (Client #4) down by
the shirt...there was force but it wasn't a slam to
the ground."

Interview with the facility manager on 3/1/10
revealed, "I grabbed him (Client #4) by the shirt
and put him down...[Staff #1] and [Staff #2]
grabbed his (Client #4) feet. [Staff #1] let go of his
(Client #4) right hand and | took one right on the
nose. | popped him (Client #4).. light fist on the
chin. It's really bothered me ever since, | liked the
kid."

Client #4 was unable to be interviewed. He was
no longer at the facility.

Interview with the Executive Director on 2/25/10
revealed, "My understanding is [facility manager]
struck [Client #4]. [Facility manager] confirmed
this.”

During interview with the Executive Director on
3/4/10, she acknowledged Client #4's parents
were contacted and no other authorities were
informed of the incident. Interview further
revealed, the facility sought clinical consultation

V 512

Division of Health Service Regulation

STATE FORM

sae9 4B4311

if continuation sheet 26 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 26 of 34

PRINTED: 03/23/2010

FORM APPROVED
Division of Health Service Regulation
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DEFICIENCY)
V 512| Continued From page 26 Vv 512 A 24 hour and a 5 day report
about the incident and were told it was of the incident was sent to the
unnecessary to contact Department of Social Health Care Registry on
Services and HCPR due to it not meeting the 3/17/10.
criteria for abuse.
A protection plan was completed by the facility on ran Sylvania S oy, pes
3/4/10, which included the following: ,
"1. All Trails personnel who have any interaction .
with Trails clients will have restrictive intervention All Trails Personnel who have
training." any interaction with Trails
"2. All Trails staff whether direct care or support clients have been trained in
will have training on a typical client profile and Crisis Prevention.
types of behaviors to expect."
"3. Employee evaluations will include a section on All future Trails employees
interactions with Trails students." will be trained in Crisis
4. Trails will review with all staff protocols for Prevention before working
reporting a staff if they believe that there has with clients
been any interaction they deem appropriate or .
demeaning. identified staff member will then . .
review the incident and take appropriate All Trails Staff will be oriented
disciplinary action.” on atypical client profile and
types of behaviors to expect.
(This deficiency constitutes a Type B rule
violation. An administrative penalty of $200.00 is Employee evaluations now
per day will be imposed for failure to correct include a section on
within 45 days.) interactions with Trails clients.
V 522) 27E .0104(e10) Client Rights - Sec. Rest. &ITO | V522 Trails has reviewed protocols
10ANCAC 27E .0104  SECLUSION, ee reporting with all
PHYSICAL RESTRAINT AND ISOLATION .
TIME-OUT AND PROTECTIVE DEVICES USED .
FOR BEHAVIORAL CONTROL A Quality Assurance
(e) Within a facility where restrictive interventions committee has been formed
may be used, the policy and procedures shall be and will meet quarterly to
in accordance with the following provisions: review trainings and Trails
(10) The emergency use of restrictive practices.
interventions shall be limited, as follows:
(A) a facility employee approved to administer
emergency interventions may employ such
Division of Health Service Regulation
STATE FORM 6898 4B4311 If continuation sheet 27 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 27 of 34
PRINTED: 03/23/2010
FORM APPROVED
Division of Health Service Regulation

STATEMENT OF DEFICIENCIES (<1) PROVIDER/SUPPLIER/CLIA (2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
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NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE

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V 522; Continued From page 27 V 522

procedures for up to 15 minutes without further
authorization;

(B) the continued use of such interventions shall
be authorized only by the responsible
professional or another qualified professional who
is approved to use and to authorize the use of the
restrictive intervention based on experience and
training;

(C) the responsible professional shall meet with
and conduct an assessment that includes the
physical and psychological well-being of the client
and write a continuation authorization as soon as
possible after the time of initial employment of the
intervention. If the responsible professional or a
qualified professional is not immediately available
to conduct an assessment of the client, but
concurs that the intervention is justified after
discussion with the facility employee, continuation
of the intervention may be verbally authorized
until an on-site assessment of the client can be
made;

(D) a verbal authorization shall not exceed three
hours after the time of initial employment of the
intervention; and

(E) each written order for seclusion, physical
restraint or isolation time-out is limited to four
hours for adult clients; two hours for children and
adolescent clients ages nine to 17; or one hour
for clients under the age of nine. The original
order shall only be renewed in accordance with
these limits or up to a total of 24 hours.

This Rule is not met as evidenced by:

Based on record review and interviews, the
facility failed to ensure interventions exceeding 15
minutes were authorized only by the responsible
professional or another qualified professional who
is approved to use and to authorize the use of the
restrictive intervention based on experience and

Division of Health Service Regulation
STATE FORM 6899 4B4311 If continuation sheet 28 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 28 of 34

PRINTED: 03/23/2010

FORM APPROVED
Division of Health Service Regulation
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DEFICIENCY)
V 522) Continued From page 28 V 522

training, effecting 1 of 4 clients audited (#4). The

findings are:

Review of Physical Restraint Reports on 3/1/10

revealed the following physical restraints of Client ope gs sg

#4 which exceeded to rites: Verification of authorization

9/19/09 at 7:30 PM for 30 minutes for physical restraints _

9/20/09 at 4:00 PM for 30 minutes exceeding 15 minutes in
9/20/09 at 5:50 PM for 48 minutes length will be given by the

9/22/09 at 8:30 PM for 45 minutes : : :
9/23/09 at 12:15 PM for 30 minutes clients Primary Therapist or

9/23/09 at 1:00 PM for 30 minutes Clinical Designee.
9/29/09 at 4:10 PM for 20 minutes

1/15/10 at 5:11 PM for 28 minutes, and 34
seconds.

The review further revealed no documentation on
the Physical Restraint Reports or on file
elsewhere of authorization for restraints lasting
longer than 15 minutes by the responsible
professional (QP) or another qualified
professional who is approved to use and to
authorize the use of the restrictive intervention
based on experience and training.

During interview with the Executive Director (ED)
on 3/4/10, The ED was asked to locate and
produce verification of authorization by a QP for
physical restraints exceeding 15 minutes in
length. She was unable to provide the requested
verification. The ED acknowledged that staff were
not seeking authorization from the QP for
extended restraints.

V 537| 27E .0108 Client Rights - Training in Sec Rest & | V 537
ITO

10A NCAC 27E .0108 TRAINING IN
SECLUSION, PHYSICAL RESTRAINT AND
ISOLATION TIME-OUT

Division of Health Service Regulation
STATE FORM 6899 4B4311 If continuation sheet 29 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 29 of 34
PRINTED: 03/23/2010
FORM APPROVED

Division of Health Service Regulation

STATEMENT OF DEFICIENCIES (<1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
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V 537 | Continued From page 29 V 537

(a) Seclusion, physical restraint and isolation
time-out may be employed only by staff who have
been trained and have demonstrated
competence in the proper use of and alternatives
to these procedures. Facilities shall ensure that
staff authorized to employ and terminate these
procedures are retrained and have demonstrated
competence at least annually.

(b) Prior to providing direct care to people with
disabilities whose treatment/habilitation plan
includes restrictive interventions, staff including
service providers, employees, students or
volunteers shall complete training in the use of
seclusion, physical restraint and isolation time-out
and shall not use these interventions until the
training is completed and competence is
demonstrated.

(c) Apre-requisite for taking this training is
demonstrating competence by completion of
training in preventing, reducing and eliminating
the need for restrictive interventions.

(d) The training shall be competency-based,
include measurable learning objectives,
measurable testing (written and by observation of
behavior) on those objectives and measurable
methods to determine passing or failing the
course.

(e) Formal refresher training must be completed
by each service provider periodically (minimum
annually).

(f) Content of the training that the service
provider plans to employ must be approved by
the Division of MH/DD/SAS pursuant to
Paragraph (g) of this Rule.

(g) Acceptable training programs shall include,
but are not limited to, presentation of:

(1) refresher information on alternatives to —
the use of restrictive interventions;

(2) guidelines on when to intervene
(understanding imminent danger to self and

Division of Health Service Regulation
STATE FORM 6a09 4B4311 If continuation sheet 30 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 30 of 34

PRINTED: 03/23/2010
FORM APPROVED
Division of Health Service Requlation

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AND PLAN OF CORRECTION IDENTIFICATION NUMBER: A. BUILDING COMPLETED

B. WING
MHL088-020 03/04/2010

NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
TRAILS CAROLINA LAKE TOXAWAY, NC 28747

(4) ID SUMMARY STATEMENT OF DEFICIENCIES ID PROVIDER'S PLAN OF CORRECTION (x5)

PREFIX (EACH DEFICIENCY MUST BE PRECEDED BY FULL PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
TAG REGULATORY OR LSC IDENTIFYING INFORMATION) TAG CROSS-REFERENCED TO THE APPROPRIATE DATE

DEFICIENCY)

V 537 | Continued From page 30 V 537

others);

(3) emphasis on safety and respect for the
rights and dignity of all persons involved (using
concepts of least restrictive interventions and
incremental steps in an intervention);

(4) strategies for the safe implementation
of restrictive interventions;

(5) the use of emergency safety
interventions which include continuous
assessment and monitoring of the physical and
psychological well-being of the client and the safe
use of restraint throughout the duration of the
restrictive intervention;

(6) prohibited procedures;

(7) debriefing strategies, including their
importance and purpose; and

(8) documentation methods/procedures.
(h) Service providers shall maintain
documentation of initial and refresher training for
at least three years.

(1) Documentation shall include:

(A) who participated in the training and the
outcomes (pass/fail);

(B) when and where they attended; and
(C) instructor's name.

(2) The Division of MH/DD/SAS may
review/request this documentation at any time.

(i) Instructor Qualification and Training
Requirements:

(1) Trainers shall demonstrate competence
by scoring 100% on testing in a training program
aimed at preventing, reducing and eliminating the
need for restrictive interventions.

(2) Trainers shall demonstrate competence
by scoring 100% on testing in a training program
teaching the use of seclusion, physical restraint
and isolation time-out.

(3) Trainers shall demonstrate competence
by scoring a passing grade on testing in an
instructor training program.

Division of Health Service Regulation
STATE FORM 6899 4B4311 lf continuation sheet 31 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 31 of 34

Division of Health Service Regulation

PRINTED: 03/23/2010
FORM APPROVED

STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA
AND PLAN OF CORRECTION IDENTIFICATION NUMBER:

MHL088-020

(X2) MULTIPLE CONSTRUCTION
A. BUILDING

B. WING

(X3) DATE SURVEY
COMPLETED

03/04/2010

NAME OF PROVIDER OR SUPPLIER

TRAILS CAROLINA

STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747

(x4) ID
PREFIX
TAG

SUMMARY STATEMENT OF DEFICIENCIES
(EACH DEFICIENCY MUST BE PRECEDED BY FULL
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ID PROVIDER'S PLAN OF CORRECTION (x5)
PREFIX (EACH CORRECTIVE ACTION SHOULD BE COMPLETE
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V 537

Continued From page 31

(4) The training shall be
competency-based, include measurable learning
objectives, measurable testing (written and by
observation of behavior) on those objectives and
measurable methods to determine passing or
failing the course.

(5) The content of the instructor training the
service provider plans to employ shall be
approved by the Division of MH/DD/SAS pursuant
to Subparagraph (j)(6) of this Rule.

(6) Acceptable instructor training programs
shall include, but not be limited to, presentation

(A) understanding the adult learner;

(B) methods for teaching content of the
course;

(C) evaluation of trainee performance; and
(D) documentation procedures.

(7) Trainers shall be retrained at least
annually and demonstrate competence in the use
of seclusion, physical restraint and isolation
time-out, as specified in Paragraph (a) of this
Rule.

(8) Trainers shall be currently trained in
CPR.

(9) Trainers shall have coached experience
in teaching the use of restrictive interventions at
least two times with a positive review by the
coach.

(10) Trainers shall teach a program on the
use of restrictive interventions at least once
annually.

(11) Trainers shall complete a refresher
instructor training at least every two years.

(k) Service providers shall maintain
documentation of initial and refresher instructor
training for at least three years.

(1) Documentation shall include:

(A) who participated in the training and the
outcome (pass/fail);

V 537

Division of Health Service Regulation

STATE FORM

990 4B4311

If continuation sheet 32 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 32 of 34
Division of Health Service Regulation

PRINTED: 03/23/2010
FORM APPROVED

STATEMENT OF DEFICIENCIES
AND PLAN OF CORRECTION

(X1) PROVIDER/SUPPLIER/CLIA
IDENTIFICATION NUMBER:

MHL088-020

(X2) MULTIPLE CONSTRUCTION

A. BUILDING
B. WING

(X3) DATE SURVEY
COMPLETED

03/04/2010

NAME OF PROVIDER OR SUPPLIER

TRAILS CAROLINA

STREET ADDRESS, CITY, STATE, ZIP CODE

500 WINDING GAP ROAD
LAKE TOXAWAY, NC 28747

(x4) ID
PREFIX
TAG

SUMMARY STATEMENT OF DEFICIENCIES
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DEFICIENCY)

(XS)
COMPLETE
DATE

V 537

Continued From page 32

(B) when and where they attended; and
(C) instructor's name.

(2) The Division of MH/DD/SAS may
review/request this documentation at any time.
(l) Qualifications of Coaches:

(1) Coaches shall meet all preparation
requirements as a trainer.

(2) Coaches shall teach at least three
times, the course which is being coached.

(3) Coaches shall demonstrate
competence by completion of coaching or
train-the-trainer instruction.

(m) Documentation shall be the same
preparation as for trainers.

This Rule is not met as evidenced by:

Based on record review and interviews, the
facility failed to ensure physical restraint was
employed only by staff who had been trained and
had demonstrated competence in the proper use
of and alternatives to these procedures, and were
retrained and had demonstrated competence at
least annually, effecting 1 of 4 client's audited
(#4). The findings are.

A review of policy and procedures on 2/26/10
revealed the facility staff utilize the Crisis
Prevention Intervention (CPI) system for
employing physical restraints, and that physical
restraints may be employed on an emergency
basis, when a client provides a danger to himself
or others, and inflicts significant property
damage.

A review of incident reports on 3/1/10 revealed 3
incident reports describing the Facility Manager
taking Client #4 to the ground twice during a

V 537

All Trails Personnel who
have any interaction with
Trails clients have been
trained in Crisis
Prevention.

All Trails Future employees
will be trained in Crisis
Prevention before working
with clients.

Division of Health Service Regulation

STATE FORM

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 33 of 34

6899 4B4311

lf continuation sheet 33 of 34

PRINTED: 03/23/2010

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Division of Health Service Regulation
STATEMENT OF DEFICIENCIES (X1) PROVIDER/SUPPLIER/CLIA (X2) MULTIPLE CONSTRUCTION (X3) DATE SURVEY
AND PLAN OF CORRECTION IDENTIFICATION NUMBER: COMPLETED
A. BUILDING
B. WING
MHL088-020 03/04/2010
NAME OF PROVIDER OR SUPPLIER STREET ADDRESS, CITY, STATE, ZIP CODE
500 WINDING GAP ROAD
TRAILS CAROLINA LAKE TOXAWAY, NC 28747
(X4) ID SUMMARY STATEMENT OF DEFICIENCIES ID PROVIDER'S PLAN OF CORRECTION 0)
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DEFICIENCY)
V 537! Continued From page 33 V 537

single incident at approximately 4:30 PM on
12/23/09. Client #4 received a cut in his mouth as
a result of a punch by the Facility Manager during
the physical restraint. Further review of the
incident reports also revealed the Facility
Manager took the client down by"grabbing his
collar and lowering him to the ground."

A review of staff personnel records on 3/1/10
revealed no evidence on file that the facility
manager had participated and demonstrated
competence in CPI Training between his hire
date of 4/1/08 and January, 2010.

During interviews with staff conducted on 2/26/10
and 3/4/10, administrative staff were asked to
locate and provide verification of training within a
year prior to the 12/23/09 incident in CPI for the
Facility Manager. Staff were unable to produce
verification of the required training for the Facility
Manager.

Interviews with Staff #1 and the Facility Manager
on 2/26/10, and with Staff #2 on 3/4/10,
confirmed that the Facility Manager actively
participated in the restraint of Client #4 on
12/23/09, and that Client #4 was injured as a
result of the Facility Manager's participation. The
interview with the Facility Manager on 2/26/10
also revealed that the Facility Manager had
received NCI training from a previous employer,
but he was not current in any kind of restraint
training at the time of the incident.

Division of Health Service Regulation

STATE FORM

6899

4B4311

If continuation sheet 34 of 34

Case 1:24-cv-00046-MOC-SCR Document 30-16 Filed 04/23/24 Page 34 of 34
